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   6   Attorneys for Defendant
       CBS STUDIOS INC.
   7

   8                                    UNITED STATES DISTRICT COURT

   9                                  CENTRAL DISTRICT OF CALIFORNIA

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  11   DELRAY RICHARDSON p/k/a DELRAY                                 Case No. CV12-7925 ABC (SHx)
       d/b/a DEL FUNK BOY MUSIC, an                                   Honorable Audrey B. Collins
  12   individual, and STERLING A.
       SYNDER d/b/a/ ZION RECORDS,                                    NOTICE OF WITHDRAWAL OF
  13   an individual,                                                 WRIT OF EXECUTION AND
                                                                      LEVY
  14                             Plaintiffs,
       vs.
  15
       CBS STUDIOS INC., d/b/a CBS
  16   TELEVISION DISTRIBUTION, a division
       of CBS CORPORATION, a Delaware
  17   corporation,

  18                  Defendants.
       __________________________________/
  19

  20

  21           TO ALL INTERESTED PARTIES, THE COURT AND THE U.S. MARSHALS

  22   SERVICE:

  23           Please take notice that the Writ of Execution, issued on

  24   July 8, 2014 (Docket No. 60) and the Levy on ASCAP(“American

  25   Society of Composers Authors and Publishers”) (Docket No. 68)

  26

  27                                                           -1-
       _____________________________________________________________________________________________________________________
  28                        NOTICE OF WITHDRAWAL OF WRIT OF EXECUTION
Case 2:12-cv-07925-ABC-SH Document 70 Filed 12/19/14 Page 2 of 3 Page ID #:579



   1   served on September 3, 2014 are hereby withdrawn.

   2           Debtor Delray Richardson is under the protection of the

   3   bankruptcy court in United States Bankruptcy Court for the

   4   Central District of California, Case No.14BK30849, a Chapter 13

   5   case which was commenced on November 5, 2014.

   6   Dated: December __, 2014

   7   LAW OFFICES OF ROBERT S. BESSER

   8
       By: /s/ Robert S. Besser
   9   Attorneys for Defendant
       CBS STUDIOS INC.
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  28                        NOTICE OF WITHDRAWAL OF WRIT OF EXECUTION
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   1                                         CERTIFICATE OF SERVICE

   2   STATE OF CALIFORNIA:

   3   COUNTY OF LOS ANGELES:

   4        I am a member of the Bar of the State of California. I am
       over the age of 18 and not a party to the within action. My
   5   business address is 1221 Second Street, Suite 300, Santa Monica,
       California 90401.
   6
            On this date, I served the foregoing document described as
   7   NOTICE OF WITHDRAWAL OF WRIT OF EXECUTION AND LEVY on all
       interested parties in this action by:
   8
       [XX] BY MAIL: placing a true and correct copy thereof enclosed
   9   in a sealed envelope with postage fully pre-paid and addressed as
       follows:
  10
       [XX] BY E-MAIL: I emailed the document to the email address shown
  11   below and received no notice of error reported:

  12                                    Alisa Admiral, Esq.
                                      alisa@admirallegal.com
  13                          Attorneys for Debtor Delray Richardson

  14                                                  ASCAP
                                              7920 Sunset Boulevard
  15                                          Los Angeles, CA 90046
                                                    Garnishee
  16

  17        I am aware that on motion of the party served, service is
       presumed invalid if the postal cancellation date or postage meter
  18   date is more than one day after the date of deposit stated in
       this affidavit.
  19
            I declare under penalty of perjury under the laws of the
  20   United States that the foregoing is true and correct. Executed
       on December 19 2014, at San Rafael, California.
  21
                                                                       /s/ Christopher Chapin
  22                                                                  CHRISTOPHER CHAPIN

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       _____________________________________________________________________________________________________________________
  28                        NOTICE OF WITHDRAWAL OF WRIT OF EXECUTION
